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                           UNITED STATES BANKRUPTCY COURT

            SOUTHERN DISTRICT OF NEW YORK - MANHATTAN DIVISION

 In Re:                                              Case No. 21-10256-SCC

 ANTHONY LUCIANO,                                    Chapter 7


                  Debtor(s).


               REQUEST FOR SPECIAL NOTICE AND SERVICE OF COPIES


TO:       UNITED STATES BANKRUPTCY JUDGE, THE DEBTOR(S), AND ALL INTERESTED
          PARTIES

          PLEASE TAKE NOTICE that ALDRIDGE PITE, LLP submits this Request for Special

Notice and Service of Copies, for JPMorgan Chase Bank, N.A. and hereby requests special notice of

all events relevant to the above-referenced bankruptcy and copies of all pleadings or documents filed
in relation to the above-referenced bankruptcy, including all pleadings or notices under Federal Rules

of Bankruptcy Procedure, Rule 2002, the commencement of any adversary proceedings, the filing of

any requests for hearing, objections, and/or notices of motion, or any other auxiliary filings, as well

as notice of all matters which must be noticed to creditors, creditors committees and parties-in-

interest and other notices as required by the United States Bankruptcy Code and Rules and/or Local

Rules of the above-referenced bankruptcy court.

          ALDRIDGE PITE, LLP, submits this Request for Notice and Service of Copies as agent for

JPMorgan Chase Bank, N.A. and not as counsel of record.

          ALDRIDGE PITE, LLP, requests that for all notice purposes and for inclusion in the Master

Mailing List in this case, the following address be used:

                                         Jenelle C. Arnold
                                     ALDRIDGE PITE, LLP
                                   4375 Jutland Drive, Suite 200
                                          P.O. Box 17933
                                    San Diego, CA 92177-0933
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        Neither this Request for Special Notice nor any subsequent appearance, pleading, claim,

proof of claim, documents, suit, motion nor any other writing or conduct, shall constitute a waiver of

the within party's:

        a.      Right to have any and all final orders in any and all non-core matters entered only

after de novo review by a United States District Court Judge;

        b.      Right to receive service pursuant to Fed. R. Civ. P. 4 made applicable to the instant

proceeding by Fed. R. Bankr. P. 7004. This Request for Special Notice shall not operate as a

confession and/or concession of jurisdiction. Moreover, the within party does not authorize

ALDRIDGE PITE, LLP, either expressly or impliedly through ALDRIDGE PITE, LLP’s

participation in the instant proceeding, to act as its agent for purposes of service under Fed. R. Bankr.

P. 7004;

        c.      Right to trial by jury in any proceeding as to any and all matters so triable herein,

whether or not the same be designated legal or private rights, or in any case, controversy or

proceeding related hereto, notwithstanding the designation or not of such matters as "core
proceedings" pursuant to 28 U.S.C. § 157(b)(2)(H), and whether such jury trial right is pursuant to

statute or the United States Constitution;

        d.      Right to have the reference of this matter withdrawn by the United States District

Court in any matter or proceeding subject to mandatory or discretionary withdrawal; and

        e.      Other rights, claims, actions, defenses, setoffs, recoupments or other matters to which

this party is entitled under any agreements at law or in equity or under the United States Constitution.

Dated: May 21, 2021                                     ALDRIDGE PITE, LLP


                                                        /s/ Jenelle C. Arnold
                                                        Jenelle C. Arnold
                                                        ALDRIDGE PITE, LLP
                                                        4375 Jutland Dr., Suite 200
                                                        P.O. Box 17933
                                                        San Diego, CA 92117-0933
